         Case 2:24-cv-01743-KBH Document 74 Filed 07/17/24 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

 ATS TREE SERVICES, LLC,

                        Plaintiff,
        v.

 FEDERAL TRADE COMMISSION; LINA M.
 KHAN, in her official capacity as Chair of the
 Federal Trade Commission; and REBECCA                 Case No. 2:24-cv-01743-KBH
 KELLY SLAUGHTER, ALVARO BEDOYA;
 ANDREW N. FERGUSON, and MELISSA
 HOLYOAK, in their official capacities as
 Commissioners of the FTC,

                        Defendants.



                        MOTION TO SUPPLEMENT THE RECORD

       Plaintiff ATS Tree Services, LLC (“ATS”) respectfully moves to supplement the record for

its Motion for Stay of Effective Date and Preliminary Injunction (Doc. 10) (the “Motion”). On July

10, 2024, the Court held a hearing at which counsel for ATS and Defendants presented argument

on the Motion. During the argument, the Court raised additional evidentiary questions regarding

one of the types of irreparable harm ATS would suffer if the Federal Trade Commission’s Non-

Compete Clause Rule (the “Final Rule”) is not preliminarily enjoined. In order to address the

Court’s questions, ATS requests that the record on the Motion be supplemented with the attached

supplemental affidavit from Mr. David Servin, ATS’s Chief Financial Officer and part owner, Doc.

11-1 ¶ 2, further addressing ATS’s irreparable harm. In the alternative, ATS requests that the Court

set an evidentiary hearing at which Mr. Servin be permitted to provide additional testimony

regarding the irreparable harm ATS will suffer if the Final Rule goes into effect. ATS conferred

with Defendants regarding this motion and they oppose it. Accompanying this motion is a

supporting brief and the aforementioned supplemental declaration of Mr. Servin. Supplementing
         Case 2:24-cv-01743-KBH Document 74 Filed 07/17/24 Page 2 of 3




the record through either Mr. Servin’s supplemental declaration or testimony from Mr. Servin at

an evidentiary hearing will assist the Court with efficiently resolving the Motion.

       DATED: July 17, 2024.
                                                     Respectfully submitted,

                                                     s/ Joshua M. Robbins
                                                     SEAN RADOMSKI
                                                     Pennsylvania Bar No. 319732
                                                     JOSHUA M. ROBBINS*
                                                     PACIFIC LEGAL FOUNDATION
                                                     3100 Clarendon Blvd.
                                                     Suite 1000
                                                     Arlington, Virginia 22201
                                                     Telephone: (202) 888-6881
                                                     SRadomski@pacificlegal.org
                                                     JRobbins@pacificlegal.org

                                                     LUKE WAKE*
                                                     California Bar. No. 264647
                                                     PACIFIC LEGAL FOUNDATION
                                                     555 Capitol Mall, Suite 1290
                                                     Sacramento, California
                                                     Telephone: (916) 419-7111
                                                     LWake@pacificlegal.org

                                                     Attorneys for Plaintiff

                                                     *Admitted Pro Hac Vice




                                                     2
         Case 2:24-cv-01743-KBH Document 74 Filed 07/17/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2024, I electronically filed the foregoing with the Clerk of

the United States District Court for the Eastern District of Pennsylvania using the CM/ECF system,

which sent notifications of such filing to all registered CM/ECF users.

       DATED: July 17, 2024.

                                                              /s/ Joshua M. Robbins
                                                              JOSHUA M. ROBBINS




                                                     3
